622 F.2d 386
    Johnnie GILBERT et al., Appellants,v.The CITY OF LITTLE ROCK, ARKANSAS et al., Appellees.Julius Bryant et al., Intervenors below.Johnnie GILBERT et al., Appellees,v.The CITY OF LITTLE ROCK ARKANSAS et al., Appellants.Julius Bryant et al., Intervenors below.
    Nos. 79-1836, 79-1856.
    United States Court of Appeals,Eighth Circuit.
    Submitted May 22, 1980.Decided May 30, 1980.
    
      John W. Walker, Little Rock, Ark., filed brief for appellants.
      R. Jack Magruder, City Atty., and Philip E. Kaplan, Kaplan, Brewer &amp; Bilheimer, Little Rock, Ark., filed brief for appellees.
      Before HEANEY, Circuit Judge, GIBSON, Senior Circuit Judge, and ROSS, Circuit Judge.
      PER CURIAM.
    
    
      1
      This appeal is from an order of the United States District Court for the Eastern District of Arkansas1 granting cross motions of attorneys for both the plaintiff Gilbert and the defendant City of Little Rock to disqualify each other from further participation as attorneys in this case.  A hearing was held on the motions and at the conclusion of the hearing the district judge carefully determined the facts and decided that continued representation of their respective clients by both lawyers would not be proper under the framework of the Canons of the Code of Professional Responsibility.
    
    
      2
      Our standard of review in cases involving the court's determination of disqualification of counsel is whether or not the ruling was an abuse of discretion.  "We apply the scope of review in disqualification cases described in Hull v. Celanese Corp., 513 F.2d 568 (2d Cir. 1975): 'The district court bears the responsibility for the supervision of the members of its bar.  (Citing authorities.)  The dispatch of this duty is discretionary in nature and the finding of the district court will be upset only upon a showing that an abuse of discretion has taken place.  (Citing authorities.)'  513 F.2d at 571."  Fred Weber, Inc. v. Shell Oil Co., 566 F.2d 602, 605 (8th Cir. 1977).  See also Arkansas v. Dean Food Products Co., Inc., 605 F.2d 380 (8th Cir. 1979).
    
    
      3
      As to the cross-appeal of the City of Little Rock, No. 79-1856, the appeal is dismissed upon the motion of the appellant.  As to the original appeal of appellant Johnnie Gilbert, No. 79-1836, we have carefully reviewed the record of the trial court and we cannot say that an abuse of discretion has taken place.  Accordingly, we affirm the judgment of the trial court pursuant to Rule 14 of the Rules of this court.
    
    
      
        1
         The Honorable Elsijane Trimble Roy, United States District Judge for the Eastern and Western Districts of Arkansas
      
    
    